   USDC IN/ND case 2:22-cv-00137-TLS document 85 filed 09/08/23 page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


Mark McPhail,

                       Plaintiff,                      Case No. 2:22-cv-00137-TLS-APR

The Trustees of Indiana                                Honorable Theresa L. Springmann
University, et al.

                       Defendants.


            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       It is hereby stipulated and agreed by and among the parties to the above-titled action,
through their respective attorneys, that said action be dismissed with prejudice and without fees or
costs to any party, and that judgment of dismissal with prejudice may be entered hereon pursuant
hereto and without further notice.


        /s/ Rima N. Kapitan                            /s/ Kathleen M. Anderson

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